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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                              CASE NO. 23-80101-CR-CANNON(s)

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  DONALD J. TRUMP,
  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA,

        Defendants.
  ________________________________/

                                      NOTICE OF APPEAL

         The United States of America hereby gives notice that it appeals to the United States Court

  of Appeals for the Eleventh Circuit from the order of the District Court entered on July 15, 2024,

  Docket Entry 672.

                                               Respectfully submitted,

                                               JACK SMITH
                                               Special Counsel
                                               N.Y. Bar No. 2678084

                                       By:     /s/ Jay I. Bratt
                                               Jay I. Bratt
                                               Counselor to the Special Counsel
                                               Special Bar ID #A5502946
                                               950 Pennsylvania Avenue, N.W.
                                               Washington, D.C. 20530

                                               David V. Harbach, II
                                               Assistant Special Counsel
                                               Special Bar ID #A5503068

  July 17, 2024
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on July 17, 2024, I electronically filed the foregoing document with

  the Clerk of the Court using CM/ECF, which in turn serves counsel of record via transmission of

  Notices of Electronic Filing.

                                              /s/ Jay I. Bratt
                                              Jay I. Bratt




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